  Case 3:23-cr-00026-MEM     Document 734    Filed 12/12/24   Page 1 of 31




                UMTED STATES DISTtsICT COIIRT
               MIDDLE DISTBICT OT PENNSYLVANIA

UMTED STATES OFAMERICA                 No.3:23-CR'26

           v                           (Judge MANNION)

SHANE BIIRNS,                          Filed Electronically
           Defendant.

                         PLEAAGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s), Penaltiee. and Dismissal of Other Counts

    1. Guil tv nlea . The defendant agrees to plead guilty to Count 1 of
       the Indictment, which charges the defendant with a violation of

       Title 21, United States Code, gg 846, S+r(a)(l) and 8a1(b)(1X0,

       Conspiracy to Distribute more than 400 Grams of Fentanyl, a

       Schedule II Controlled Substance. The maximum penalty for

       that offense is imprisonment for a period of life but a mandatory

       minimum of 10 years in prison, a fine of 910,000,000, a
Case 3:23-cr-00026-MEM   Document 734   Filed 12/12/24   Page 2 of 31




    maximum term of supervised release of life but a minimum of at

    least 5 years, which shall be served at the conclusion of, and in

    addition to, any term of imprisonment, as well as the costs of

    prosecution, imprisonment, probation, or supervised release

    ordered, denial of certain federal benefits, and an assessment in

    the amount of $100. At the time the guilty plea is entered, the

    defendant shall admit to the Court that the defendant is, in fact,

    guilty ofthe offense(s) charged in that count. After sentencing,

    the United States wili move for dismissal of any remaining

    counts ofthe Indictment. The defendant agrees, however, that

    the United States may, at its sole election, reinstate any

    dismissed charges, or seek additional charges, in the event that

    any guilty plea entered or sentence imposed pursuant to this

    Agreement is subsequently vacated, set aside, or invalidated by

    any court. The defendant further agrees to waive any defenses

    to reinstatement of any charges, or to the filing of additional

    charges, based upon laches, the assertion of speedy trial rights,

    any applicable statute oflimitations, or any other ground. The
                                 2
Case 3:23-cr-00026-MEM    Document 734    Filed 12/12/24   Page 3 of 31




     calculation of time under the Speedy Trial Act for when trial

     must commence is to11ed as of the date of the defendant's

     signing of this Agreement, until either (a) the defen<lant pleads

     guiltyi or (b) a new date is set by the Court for commencement

     of trial.

 2, Mandatory Minimum Sentence. Count 1 carries a mandatory
     6ini1as6 period of imprisoument of 10 years.

 3. Term of Supervised Release. The defendant understands that
     the Court must impose at least a 5-year term of supervised

     release but up to a lifetime of supervised release in addition to

     any term of imprisonment, fine or assessment involving this

     violation ofthe Controlled Substances Act. The defendant also

     understands that the Court may impose a term ofsupervised

     release following any sentence of imprisonment exceeding one

     year, or when required by statute. The Court may require a

     term of supervised release in any other case. In addition, the

     defendant understands that as a condition ofany term of

     supervised release or probation, the Court must order that the
  Case 3:23-cr-00026-MEM   Document 734   Filed 12/12/24   Page 4 of 31




      defendant cooperate in the collection of a DNA sample if the

      collection of a sample is so authorized by law

B. Fines and Assessments
   4. Fine. The defendant understands that the CourL may impose a
      fine pursuant to the Sentencing Reform Act of 1984. The willful

      failure to pay any fine imposed by the Court, in fuII, may be

      considered a breach of this Plea Agreement. Further, the

      defendant acknowledges that wiilful failure to pay the fine may

      subject the defendant to additional criminal violations and civil

      penalties pursuant to Title 18, United States Code, $ 3611, et

      seq.

   5. Inmate Financial Res ponsibilitv Prosr am. If the Court orders a
      fine or restitution as part ofthe defendant's sentence, and the

      sentence includes a term of imprisonment, the defendant agrees

      to voluntarily enter the United States Bureau ofPrisons-

      administered program known as the Inmate Financial

      Responsibility Program, through which the Bureau of prisons

      will collect up to 50% ofthe defendant's prison salary, and up to
                                  4
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 5 of 31




    50% of the balance of the defendant's inmate account, and apply

    that amount on the defendant's behalf to the payment of the

    outstanding fine and restitution orders.

6. Special Assessment. The defendant understands that the Court
    will impose a special assessment of $100, pursuant to the

    provisions of Title 18, United States Code, $ 3013. No later

    than the date of sentencing, the defendant or defendant's

    counsel shall mail a check in payment of the special assessment

    directly to the Clerk, United States District Court, Middle

    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

    this Plea Agreement and may result in further prosecution, the

    filing of additional criminal charges, or a contempt citation.

7. Collection of Fi nancial Oblieations. In order to facilitate the
    collection of financial obligations imposed in connection with

    this case, the defendant consents and agrees:

    a   to fully disclose all assets in which the defendant has an

        interest or over which the defendant has control, directly or
                                 5
Case 3:23-cr-00026-MEM      Document 734   Filed 12/12/24   Page 6 of 31




        indirectly, including those held by a spouse, nomrnee, or

        other third partyi

    b. to submit to interviews by the Government regarding the
        defendant's financial statusi

    C   to submit a complete, accurate, and truthful financial

        statement, on the form provided by the Government, to the

        United States Attorney's Office no later than 14 days

        following entry of the guilty pleai

    d. whether represented by counsel or not, to consent to contact
        by and communication with the Government, and to waive

        any prohibition against communication with a represented

        party by the Government regarding the defendant's

        financial status;

    e. to authorize the Government to obtain the defendant's
        credit reports in order to evaluate the defendant's ability to

        satisfy any financial obligations imposed by the Courti and

    f. to submit any financial information requested by the
        Probation Office as directed, and to the sharing offinancial
                                   6
  Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 7 of 31




           information between the Government and the Probation

           Office.

C. Sentencine Guidelines Calculation
   8. Detefmination ef Sentencing Guidelines. The defendant and
       counsel for both parties agree thab the United States Sentencing

       Commission Guidelines, which took effect on November 1, 1987,

       and its amendments (the "sentencing Guidelines"), will apply to

       the offense or offenses to which the defendant i.s pleading guiity.

       The defendant understands that the Sentencing Guideiines are

       advisory and not binding on the Court. The defendant further

       agrees that any legal and factual issues relating to the

       application ofthe Sentencing Guidelines to the defendant's

       conduct, including facts to support any specific offense

       characteristic or other enhancement or adjustment and the

       appropriate sentence within the statutory maximums provided

       for by law, will be determined by the Court after briefing, a pre-

       sentence hearing, or a sentencing hearing.



                                    7
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 8 of 31




9. Acceptance of Responsibilitv- Two/Three Levels. If the
    defendant can adequately demonstrate recognition and

    affirmative acceptance of responsibiiity to the Government as

    required by the Sentencing Guidelines, the Government will

    recommend that the defendant receive a two- or three-level

    reduction in the defendant's offense level for acceptance of

    responsibility. The third level, if applicable, shali be within the

    discretion of the Government under U.S.S.G. $ 3E1.1. The

    failure of the Court to find that the defendant is entiiled to a

    reduction shall not be a basis to void this Agreement.

 10. Specific Sentencine Guidelines Recommendations. With respect

    to the application of the Sentencing Guidelines to the

    defendant's conduct, the parties agree to recommend as follows:

        a. For purposes of the United States Sentencing
           Guidelines (U.S.S.C.), the defendant is responsible
           for the distribution of, and possession with intent to
           distribute, at least 1.2 kilograms of fentanyl but
           Iess than 4 kilograms of fentanyl, a Schedule II
           controlled substance (Base Offense Leve1 32)i

       b. Pursuant to U.S.S.G. 93B1.1(c), the defendant shall
           receive a two-level enhancement for being an
                                 8
Case 3:23-cr-00026-MEM   Document 734   Filed 12/12/24   Page 9 of 31




           organizer, Ieader, manager or supervisor in the
           criminal activity described abovei

        c. Pursuant to U.S.S.G. $2D1.1(16)(E), the defendant
           shall receive a two-Ievel enhancement for
           committing the offense as part of criminal conduct
           engaged in as a livelihood;

        d. The parties will recommend that the Court impose a
           sentence x'ithin a sentencing range of 151 to 188
           months. The defendant reserves the right to ask for
           a sentence on the low end of this recommended
           guideline range and the government reserves the
           right to ask for a sentence at the high end ofthis
           guideline range.

        The defendant understands that none ofthese

recommendations is binding upon either the court or the United

States Probation Office, which may make different findings as to

the application ofthe Sentencing Guidelines to the defendant's

conduct. The defendant further understands that the United States

will provide the court and the United States Probation Office all

information in its possession that it deems relevant to the

application ofthe sentencing Guidelines to the defendant's conduct.

11. Special Conditions of Prob ation/Sup ervised Release. If

    probation or a term ofsupervised release is ordered, the United
                                CI
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 10 of 31




     States may recommend that the Court impose one or more

     special conditions, including but not limited to the following:

     a   The defendant be prohibited from possessing a firearm or

         other dangerous weapon.

     b. The defendant make restitution, if applicable, the payment
         of which shall be in accordance with a schedule to be

         determined by the Court.

     C   'lhe defendant pay any fine imposed in accordance with a

         schedule to be determined by the Court.

     d, The defendant be prohibited from incurring new credit
         charges or opening additional lines of credit without

         approval of the Probation Office unless the defendant is in

         compliance with the payment schedule.

     e   The defendant be directed to provide the Probation Office

         and the United States Attorney access to any requested

         financial information,

     f. The defendant be confined in a community treatrnent
         center, halfway house, or similar facility.
                                  10
Case 3:23-cr-00026-MEM      Document 734   Filed 12/12/24   Page 11 of 31




     o   The defendant be placed under home confinement

    h    The defendant be ordered to perform community service.

    1    The defendant be restricted from working in certain types of

         occupations or with certain individuals if the Government

         deems such restrictions to be appropriate.

    j.   The defendant be directed to attend substance abuse

         counseling, which may include testing to determine whether

         the defendant is using drugs or alcohol

    k. The defendant be directed to attend psychiatric or
         psychological counseling and treatment in a program

         approved by the Probation Officer.

    L The defendant be denied certain federal benefits including
         contracts, grants, loans, feilowships, and licenses.

    m. The defendant be directed to pay any state or federal taxes
         and file any and all state and federal tax returns as

         required by law.

 12. Destruction Order/Waivers. The defendant further agrees,

    should the United States deem it appropriate to the destruction
                                  11
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 12 of 31




     of the items seized during the course of the investigation. The

     defendant agrees that the items may be destroyed by the

     investigative agency with or without a court order authorizing

     the destruction of the items seized. If the United States

     determines that a destruction order should be obtained, the

     defendant and defendant's counsel hereby concLrr in a motion for

     such an order. The defendant further agrees to waive al1

     interest in the assets in any administrative or judicial forfeiture

     proceeding, whether criminal or civil, state, or federal. The

     defendant consents and waives all rights to compliance by the

     United States with any applicable deadlines under 18 U.S.C. $

     983(a). Any reiated administrative claim filed by the defendant

     is hereby withdrawn. The defendant agrees to consent to the

     entry of orders of forfeiture for such property and waives the

     requirements of Federal Rules of Criminal Procedure 32.2 and

     43(a) regarding notice ofthe forfeiture in the charging

    instrument, announcement of the forfeiture at sentencing, and

    incorporation of forfeiture in the judgment.
                                 t2
    Case 3:23-cr-00026-MEM    Document 734    Filed 12/12/24   Page 13 of 31




D    Victims'         and Restitution

     13. Victims'Riehts. The defendant understands that pursuant to

         the Victim and Witness Protection Act, the Crime Victims'

         Rights Act, the Justice for All Act, and the reguiations

         promulgated under those Acts by the Attorney General of the

         United States, crime victims have the following rights:

         a    The right to be reasonably protected from the accusedi

         b. The right to reasonable, accurate, and timely notice of any
              public court proceeding or any parole proceeding involving

              the crime, or of any release or escape ofthe accused;

         (l   The right not to be excluded from any such public court

              proceeding, unless the Court, after receiving clear and

              convincing evidence, determines that testimony by the

              victim would be altered materially if the victim heard other

              testimony at that proceedingi

        d. The right to be reasonably heard at any public hearing in
              the Court involving release, plea, sentencing, or any parole

              proceeding. The defendant understands that the victims,
                                     13
Case 3:23-cr-00026-MEM   Document 734   Filed 12/12/24   Page 14 of 31




        comments and recommendations at any of these proceedings

        may be different than those of the parties to this

        Agreementi

    e   The reasonable right to confer with the attorney for the

        Government in the case. The defendant understands that

        the victims' opinions and recommendations given to the

        attorney for the Government may be different than those

        presented by the United States as a consequence ofthis

        Agreementi

    f. The right to full and timely restitution as provided for by
        law. The attorney for the Government is required to "fully

        advocate the rights of victims on the issue of restituLion

        unless such advocacy would unduly prolong or complicate

        the sentencj.ng proceeding," and the Court is authorized to

        order restitution by the defendant including, but not limited

        to, restitution for property loss, economic ioss, personal

        injurv, or deathi

    g. The right to proceedings free from unreasonable delayi and
                                l4
Case 3:23-cr-00026-MEM   Document 734     Filed 12/12/24   Page 15 of 31




     h, The right to be treated with fairness and with respect for
         the victim's dignity and privacy.

 14. Restitution. 'Ihe defendant acknowledges that, pursuant to the

     Mandatory Restitution Act of Aprii 24, 1996, Title 18, United

     States Code, $ 3663A, the Court is required in all instances to

     order full restitution to all victims for the losses those victims

     have suffered as a result ofthe defendant's conduct. The

     defendant also agrees that the Government will seek, and the

     Court may impose an order of restitution as to victims of the

     defendant's relevant conduct. With respect to the payment of

     restitution, the defendant further agrees that, as part of the

     sentence in this matter, the defendant shail be responsible for

     making payment of restitution in fuII, unless the defendant can

     demonstrate to the satisfaction ofthe Court that the defendant's

     economic circumstances do not ailow for the payment of fuIl

     restituti.on in the foreseeable future, in which case the

     defendant will be required to make partial restitution

     payments. In addition to the schedule of payments that may be
                                  15
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 16 of 31




    established by the Court, the defendant understands and agrees

    that, pursuant to the Mandatory Victims Restitution Act of

     1996 and the Justice For All Act of 2004, victims of federal

    crimes are entitled to full and timely restitution. As such, these

    payments do not preclude the Government from using other

    assets or income of the defendant to satisfy the restitution

    obligation. The defendant understands and agrees that the

    United States Attorney's Office, by and through the Financial

    Litigation Unit, has the obligation and the right to pursue any

    legal means, including but not limited to, submission of the debt

    to the Treasury Offset Program, to collect the full amount of

    restitution owed to the victims in a timeiy fashion. Although

    the defendant may reserve the right to contest the amount of

    restitution owed, the defendant agrees to take all steps to

    facilitate collection of ail restitution, including submitting to

    debtor's exams as directed by the Government. Towards this

    goal, the defendant agrees to waive any further notice of

    forfeiture and agrees that the United States may, at its sole
                                 16
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 17 of 31




    election, elect to pursue civil or criminal forfeiture in the

     amount of the victim restitution owed in this case, and the

     Court may enter both a restitution order and a forfeiture

    judgment in the amount of any unpaid restitution found by the

     Court to be due and owing at the time of sentencing in this

     matter, The defendant consents to the filing of any civil

    complaint or superseding information which may be necessary

    to perfect a forfeiture order and further stipulates and agrees

    that the defendant's guilty plea constitutes an admission to all

     matters legally and factually necessary for entry ofa forfeiture

    order in this case. 'Ihe parties agree that the Government will

    recommend, but cannot guarantee, that any assets recovered

    through forfeiture proceedings be remitted to crime victims to

    reduce the defendant's restitution obligation in this case. The

    defendant acknowledges that the making of any payments does

    not preclude the Government from using other assets or income

    of the defendant to satisfy the restitution obligation. The

    defendant understands that the amount ofrestitution
                                 77
    Case 3:23-cr-00026-MEM    Document 734   Filed 12/12/24   Page 18 of 31




         calculated for purposes of Chapter 5 of the Sentencing

         Guidelincs might be different from the amount of loss calculated

         for purposes of Chapter 2 of the Sentencing Guidelines.

     15. Full Restitution bv Schedule The defendant agrees to make

         full restitution in accordance with a scheduie to be determined

         by the Court.




E              on        ded to Court and

     16. Backsround Information for Probation Office. The defendant

         understands that the United States will provide to the United

         States Probation Office ail information in its possession that the

         United States deems relevant regarding the defendant's

         background, character, cooperation, if any, and involvement in

         this or other offenses.

     17. Objections to Pre-Sentence Re port. The defendant understands

         that pursuant to the United States District Court for the Middle

         District of Pennsylvania's "Policy for Guideline Sentencing,"

         both the United States and defendant must communicate to the
                                     18
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 19 of 31




    Probation Officer within 14 davs after disclosure ofthe pre-

    sentence report any objections they may have as to material

    information, sentencing classifications, applicable Sentencing

    Guidelines ranges, and policy statements contained in or

    omitted from the report. The defendant agrees to meet with the

    United States at least five days prior to sentencing in a good

    faith attempt to resolve any substantive differences. If any

    issues remain unresolved, they shall be communicated to the

    Probation Officer for inclusion in an addendum to the pre-

    sentence report. The defendant agrees that unresoived

    substantive objections will be decided by the Court after

    bri.efi.ng, a pre-sentence hearing, or at the sentencing hearing,

    where the standard or proof will be a preponderance of the

    evidence, and the Federal Rules of Evidence, other than with

    respect to privileges, shall not apply under Fed. R. Evid.

    1101(dX3), and the Court may consider any reliable evidence,

    including hearsay. Objections by the defendant to the pre-


                                19
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 20 of 31




     sentence report or the Court's rulings, will not be grounds for

     withdrawai of a plea of guilty.

 18. Relevant Sentencine Information. At sentencing, the United

     States wiII be permitted to bring to the Court's attention, and

     the Court will be permitted to consider, all relevant information

     about the defendant's background, character and conduct,

     including the conduct that is the subject ofthe charges that the

     United States has agreed to dismiss, and the nature and extent

     of the defendant's cooperation, if any. The United States wili be

     entitled to bring to the Court's attention and the Court will be

     entitled to consider any failure by the defendant to fulfitl any

     obligation under this Agreement.

 19. Non-Limitation on Governm ent's Response. Nothing in this

     Agreement shall restrict or limit the nature or content of the

     United States' motions or responses to any motions filed on

     behaif of the defendant. Nor does this Agreement in any way

     restrict the Government in responding to any request by the

     Court for briefing, argument or presentation of evidence
                                 20
  Case 3:23-cr-00026-MEM   Document 734   Filed 12/12/24   Page 21 of 31




      regarding the application of Sentencing Guidelines to the

      defendant's conduct, including buL not limited to, requests for

      information concerning possible sentencing departures

F. Court Not Bound bv Plea Asreement
   20. Court Not Bound bv Terms. The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of imprisonment for life, a

      maximum fine of $10,000,000, a maximum term of supervised

      release of life, which shall be served at the conclusion of and in

      addition to any term of imprisonment, the costs of prosecution,

      denial of certain federal benefits, and assessments totaling

      $100.

   21. No Withdrawal of Plea Based otr Sentence or Recommendations.

      If the Court imposes a sentence with which the defendant is

      dissatisfied, the defendant will not be permitted to withdraw

      any guilty plea for that reason a1one, nor will the defendant be
                                  2I
  Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 22 of 31




       permitted to withdraw any guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

       Agreement.

G. Breach of Plea Asreement bv Defendant
   22. Breach of gre ement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shall, in its discretion, have

       the option ofpetitioning the Court to be relieved ofits

       obligations under this Agreement. Whether the defendant has

       completely fulfiiled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the

       defendant shall be admissible, and during which the United

       States shall be required to establish any breach by a

       preponderance ofthe evidence. In order to establish any breach

       by the defendant, the United States is entitled to rely on

       statements and evidence given by the defendant during the

       cooperation phase of this Agreement, if any.
                                   99
Case 3:23-cr-00026-MEM   Document 734   Filed 12/12/24   Page 23 of 31




 23. Remedies for Breach. The defendant and th e United States

     agree that in the event the Court concludes that the defendant

     has breached the Agreement:

         The defendant will not be permitted to withdraw any guiity

         plea tendered under this Agreement and agrees not to

         petition for withdrawal of any guilty pleai

     b. The United States will be free to make anv
         recommendations to the Court regarding sentencing in this

         CASC,


     C   Any evidence or statements made by the defendant during

         the cooperation phase of this Agreement, if any, will be

         admissible at any trials or sentencingsi

     d. The United States will be free to bring any other charges it
         has against the defendant, including any charges ori.ginally

         brought against the defendant or which may have been

         under investigation at the time of the plea. The defendant

         waives and hereby agrees not to raise any defense to the

         reinstatement of these charges based upon collateral
                                qa
Case 3:23-cr-00026-MEM   Document 734   Filed 12/12/24   Page 24 of 31




        estoppel, Double Jeopardy, statute of limitations, assertion

        of Speedy Trial rights, or other simllar grounds.

 24. Violation of Law While Plea or Sentence Irendin e. The

    defendant understands that it is a condition of this Agreement

    that the defendant refrain from any further violations of state,

    local, or federal law while awaiting plea and sentencing. 'Ihe

    defendant acknowledges and agrees that if the Government

    receives information that the defendant has committed new

    crimes while awaiting plea or sentencing in this case, the

    Government may petition the Court and, if the Court finds by a

    preponderance of the evidence that the defendant has

    committed any other criminal offense while awaiting plea or

    sentencing, the Government shall be free at its sole election to

    either: (d withdraw from this Agreementi or (b) make any

    sentencing recommendations to the Court that it deems

    appropriate. The defendant further understands and agrees

    that, if the Court finds that the defendant has committed anv

    other offense whiie awaiting plea or sentencing, the defendant
                               24
  Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 25 of 31




       will not be permitted to withdraw any guilty pleas tendered

       pursuant to this Agreement, and the government will be

       permitted to bring any additional charges that it may have

       against the defendant.

H. Deportation
   25. Deportation/Removal from the United States. The defendant

       understands that, if defendant is not a United States citizen,

       deportation/removal from the United States is a consequence of

       this plea. The defendant further agrees that this matter has

       been discussed with corinsel who has explained the immigration

       consequences of this plea. The defendant still desires to enter

       into this piea after having been so advised.

L Appeal Waiver
   26. Conditional A ppeal Wai ver, The defendant is aware that Title

   28, United States Code, $ 1291 affords a defendant the right to

   appeal a judgment of conviction and sentencei and that Title 18,

   United States Code, $ 37az(a) affords a defendant the right to

   appeal the sentence imposed. Acknowledging all of this, the
                                   25
  Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24    Page 26 of 31




   defendant knowingly waives the right to appeal the conviction and

   sentence, on the express condition that the Court, impose a sentence

   within a sentencing range extending from 151 months to 188

   months, as described in paragraph 10 of this PIea Agreement. In

   the event the Court imposes a sentence that, exceeds this sentenclng

   range, the defendant wouid retain the right to appeal the conviction

   and sentence.

          This conditional waiver includes any and all possible

   grounds for appeal, whether constitutional or non-constitutional,

   including, but not limited to, the manner in which that sentence

   was determined in light of United States v. Booker,543 U.S. 220

   (ZOOS). The defendant further acknowledges that this conditional


   appeal waiver is binding only upon the defendant and that the

   United States retains its right to appeal in this case.



J. Other Provisions
   27.    Aereement Not Bindine on Other Aqencies. Nothing in this

   Agreement shall bind any other United States Attorney,s Office,
                                   26
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 27 of 31




 state prosecutor's office, or federal, state, or local law enforcement

 agency

 28.      No Civil Claims or Suits. The defendant a grees not to

 pursue or initiate any civil claims or suits against the United States

 of America, its agencies or employees, whether or not presently

 known to the defendant, arisi.ng out of the investigation,

 prosecution or cooperation, if any, covered by this Agreement,

 including but not iimited to any claims for attorney's fees and other

 litigation expenses arising out ofthe investigation and prosecution

 of this matter. By the defendant's guilty plea in this matter the

 defendant further acknowledges that the Government's position in

 this litigation was taken in good faith, had a substantial basis in

 law and fact and was not vexatious.

 29.      Plea Asreemen t Serves Ends of Justice. The United States

 is entering this Agreement with the defendant because this

 disposition ofthe matter fairly and adequatelv addresses the

 gravity of the offense(s) from which the charge(s) is/are drawn, as



                                 27
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 28 of 31




 well as the defendant's role in such offense(s), thereby serving the

 ends ofjustice.

 30.    Merger of All Prior Negotiations. This document states the

 complete and only Agreement between the United States Attorney

 for the Middle District of Pennsylvania and the defendant in this

 case, and is binding only on the parties to this Agreement and

 supersedes all prior understandings or plea offers, whether written

 or oral. This agreement cannot be modified other than in writing

 that is signed by all parties or on the record in court. No other

 promises or inducements have been or wili be made to the

 defendant in connection with this case, nor have any predictions or

 threats been made in connection with this plea. Pursuant to Rule

 l-1 of the Federal Rules of Criminal Procedure, the defendant

 certifies that the defendant's plea is knowing and voluntary and is

 not the result of force or threats or promises apart from those

promises set forth in this Agreement.

 31.    Defendant is Satisfied with Assistance of Couns el. The

Defendant agrees that the defendant has discussed this case and
                                 28
Case 3:23-cr-00026-MEM   Document 734    Filed 12/12/24   Page 29 of 31




 this Agreement in detail with the defendant's attorney, who has

 advised the defendant ofthe defendant's Constitutional and other

 trial and appellate rights, the nature ofthe charges, the elements of

 the offenses the United States would have to prove at trial, lhe

 evidence the United States would present at such trial, possible

 defenses, the advisory Sentencing Guidelines and other aspects of

 sentencing, potential losses of civil rights and privileges, and other

 potential consequences ofpleading guilty in this case. The

 defendant agrees that the defendant is satisfied with the Legal

 services and advice provided to the defendant by the defendant's

 attorney.

 32.    Deadline for Acceptance of Plea Aqreement. The original of

 this Agreement must be signed by the defendant and defense

 counsel and received by the United States Attorney's Office on or

 before 5:00 p.m., May 22,2024, otherwise the offer may, in the sole

 discretion of the Government, be deemed withdrawn.

 33.    Required Si gnatures. None of the terms of this Agreement

 shall be binding on the Office of the United States Attorney for the
                                 9q
  Case 3:23-cr-00026-MEM    Document 734   Filed 12/12/24   Page 30 of 31




   Middle District of Pennsylvania until signed by the defendant and

   defense counsel and then signed by the United States Attorney or

   his designee.




                           ACKNOWLEDGMENTS

     I have read this agreement and carefully reviewed every part ofit
with my attorney. I fully understand it and I voluntarily agree to it,


Oltllt:"\
Date                              SHANtr        NS
                                  Defendant


       I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client's
decision to enter into this agreement is an informed and voluntary one.


I l,z,/L. Zoz I
Date                              PATRICKA. CASE
                                  Counsel for Defendant




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     Case 3:23-cr-00026-MEM           Document 734    Filed 12/12/24   Page 31 of 31




                                            GERARD M. KARAM
                                            United StaLes Attorncy

\a \4.. a\                            By:         \
                                                                       o [4"^^
Date                                        ROB]IRT J. O'HA
                                            Assistant United States Attorney


RJ O I 202stRl 0026 I 5 I t 4 I 2 4
VERSION DATD: March 8, 2021




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